Case 2:04-cr-20204-SH|\/| Document 14 Filed 07/20/05 Page 1 of 2 Page|D 10

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lN THE UNrrED STATES DIsTRlcr COURT -
FOR THE wEerRN DISTRICT 0F TENNESSEE 95 JUL 20 AH t l _ 25

 

  

 

WESTERN DIVISION
C*< “ arbitral
UNITED STATES OF AMERICA gm !~- ' ~ - i'ilS
V_ 04-20204-Ma
JELANI JOHNSON
ORDER ON ARRAIGNMENT

 

This cause came to be heard on % 201 200 S:the United States Attorney

for this district appeared on behalf of the go\§i~mnel@ and the defendant appeared in person and with
counsel:

NAME £>FI~AL B»L¢w :/"' WM"'" &/‘l€o£§l&tained/Appoimed.

The defendant, through counsel, waived formal arraignment and entered aplea of not guilty.

All motions shall be filed within thirty (3 0) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

|/ The defendant, who is not in custody, may stand on his present bond.

The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

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UNITED STATES MAGISTRATE JUDGE

CHARGES: 18:922(g);

U. S. Attorney assigned to Case: E. Gilluly

Age: 3 l

Thls dcc\_mant entered on the docket sheet |n mpilance
with me 55 and/or 32¢b) Fach on __l££§_." ‘

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 2:04-CR-20204 was distributed by faX, mail, or direct printing on
July 21, 2005 to the parties listed.

 

 

E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

